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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                Magistrate Judge Craig B. Shaffer

   Civil Action No.: 11-cv-01611-MSK-CBS               FTR - Reporter Deck - Courtroom A402
   Date: November 16, 2012                             Courtroom Deputy: Robin Mason

   Parties:                                            Counsel:

   WESTERN         CONVENIENCE        STORES,          Kathleen E. Craigmile
   INC., et al.,                                       Philip Wayne Bledsoe


           Plaintiffs/Counter Claimant,


   v.

   SUNCOR ENERGY (U.S.A.) INC.,                        Keeya Marie Jeffrey
                                                       Michael Robert McCormick

           Defendant/Counter Defendant.




                           COURTROOM MINUTES/MINUTE ORDER

   HEARING: TELEPHONIC STATUS CONFERENCE
   Court in Session:    1:33 p.m.
   Court calls case. Appearances of counsel.

   Discussion regarding the pending motions/objections.

   Discussion between the court, Ms. Craigmile, and Mr. McCormick regarding the parties working
   on an agreement that would allow the pending motions to be withdrawn, taking Rule 30(b)(6)
   depositions, Rule 26(c), and quashing subpoenas.

   Discussion regarding the interested party Dillon Companies’ MOTION for Reconsideration re
   #95 Order on Motion to Quash,,, Order on Motion to Amend/Correct/Modify,,, Motion
   Hearing,,, Set/Reset Deadlines/Hearings,, (Docket No. 110, filed on 8/31/2012), the interested
   party Dillon Companies’ MOTION to Stay (Partial) of the August 17, 2012 Magistrate Judge's
   Order (Docket No. 109, filed on 8/31/2012), and the interested party Dillon Companies’
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   OBJECTION/Appeal of Magistrate Judge Decision to District Court re #95 Order on Motion to
   Quash,,, Order on Motion to Amend/Correct/Modify,,, Motion Hearing,,, Set/Reset
   Deadlines/Hearings,, (Docket No. 107, filed on 8/31/2012 which is a non-referred motion).

   For reasons as stated on the record,

   ORDERED: The court DENIES without prejudice the interested party Dillon Companies'
            MOTION to Stay (Partial) of the August 17, 2012 Magistrate Judge's Order
            (Docket No. 109, filed on 8/31/2012).

   ORDERED: The court DENIES without prejudice the interested party Dillon Companies'
            MOTION for Reconsideration re #95 Order on Motion to Quash,,, Order on
            Motion to Amend/Correct/Modify,,, Motion Hearing,,, Set/Reset
            Deadlines/Hearings,, (Docket No. 110, filed on 8/31/2012).

   The court encourages the parties to continue their discussions in an effort to continue to move
   this case forward. If the parties are unable to resolve request number 10, Dillion has the right,
   under Rule 26 or Rule 45, to seek further relief from the court specifically redirected to some or
   all of request number10.

   In light of the ruling on the above motions,

   The court advises Dillion to reevaluate their OBJECTION/Appeal of Magistrate Judge Decision
   to District Court re #95 Order on Motion to Quash,,, Order on Motion to
   Amend/Correct/Modify,,, Motion Hearing,,, Set/Reset Deadlines/Hearings,, (Docket No. 107,
   filed on 8/31/2012) to see if they feel that this objection could now be withdrawn. If Dillion
   feels that their objection still has some merit, they are able to leave it pending for ruling by Judge
   Krieger.

   ORDERED: The court GRANTS the interested party Dillon Companies' MOTION for Leave
            to Restrict Document (Docket No. 118, filed on 9/13/2012).

   Further discussion between the court and Mr. McCormick regarding the OBJECTION/Appeal of
   Magistrate Judge Decision to District Court re #95 Order on Motion to Quash,,, Order on Motion
   to Amend/Correct/Modify,,, Motion Hearing,,, Set/Reset Deadlines/Hearings,, (Docket No. 107,
   filed on 8/31/2012) and the protection of trade secrets.

   HEARING CONCLUDED.

   Court in recess:         1:53 p.m.
   Total time in court:     00:20

   To order transcripts of hearings with Magistrate Judge Shaffer, please contact Avery Woods Reporting at
   (303) 825-6119 or toll free at 1-800-962-3345.
